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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )       Case No. 21-CR-453 (JDB)
                                              )
 SEAN MICHAEL MCHUGH,                         )
                                              )
                        Defendant.            )
                                              )


                                  NOTICE TO THE COURT
       COMES NOW Counsel for Defendant, Joseph W. Allen, and hereby provides notice to

this Court of his flight cancelation due to inclement weather on April 16th, 2023 (See Exhibit 1).

Counsel immediately obtained another flight but could not get anything that allowed him to

appear on the morning of April 17, 2023, for trial in the above case. Counsel for Defendant has

notified Counsel for the Government via email and included the Clerk of the Court. Counsel will

make himself available at this Court’s earliest convenience for instruction on how to proceed.




                                                     Respectfully submitted,




                                                     ____________________________________
                                                     Joseph W. Allen, MO BAR #57669
                                                     1015 W. State Hwy. 248 Ste. I
                                                     Branson, MO 65616
                                                     Telephone: 417/334-6818
                                                     Facsimile: 417/612-7081
                                                     joe@mybransonattorney.com
                                                     Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of April 2023, I filed the foregoing Notice to the
Court by the Court’s CM/ECF system. All case registered parties will be served by CM/ECF.




                                                     ____________________________
                                                     Joseph W. Allen
